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                  Ex. OO
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                                                                                                                                         OMB No. 1140-0020
U.S. Department of Justice
Bureau of Alcohol, Tobacco, Firearms and Explosives                             Firearms Transaction                 Record Part I —~
                                                                                Over-the-Counter                                                 v
WARMING: You may not receive a firearm if prohibited by Federal or State law. The information you provide will                     Transferor's Transaction
be used to determine whether you are prohibited under law from receiving a firearm. Certain violations of the Gun                  Serial Number (Ifany)
Control Act, 18 U.S.C. §§ 921 et, seq., are punishable by up to 10 years imprisonment and/or tip to a $250,000 fine.

Prepare in original only. All entries must be handwritten in ink. Read the Notices, Instructions, and Definitions on
this form."PLEASE PRINT."
                                       Section A - Must Be Completed Personally By Transferee(Buyer)
 1. Transferee's Full Name
 Last Name                                       First Name                                        Middle Name(Ifno »riddle name, state `NMN
                                                                                                                                           )

                                                           Own
2. Current Resi~ence ddress (U.S. Postal abbreviations are acceptable. Cannot be a post office box.)
Number and Street Address                     City                                        County                                 State    ZIP Code
                                                                                                                                                         r
                  ~
                  )               ~ \'UR               V A)N&1 ~05                                                                MM
3. Place of Birth                                                  4. Height    5. Weight     6. Gender 7. Birth Date
U.S. City and State            -OR-     Foreign Country             Ft            ( Lbs)         Male    Month        Day                     Year

 51~A t(w               -t)<                                     In.               Ob            Female ❑         oa--           kD,           k9g l
8. Social Security umber (Optiotral
                              11    but will help prevent misidentification)     9. Unique Personal Identification Number(UPIN) if applicable (See
                                                                                    Instructionsfor Question 9.)

 10. Race (Ethnicity)(Check one ~ 1nol1e boxes. See Instructionsfor Question: 10.)
     n American Indian or Alaska,Naiive                        Black or African American                          Native Hawaiian or Other Pacific Islander
                                   ,;3,
                                                                                                                  White
     ❑ Hispanic or Latino                                       Asian
1 1. Answer questions l l.a.(see exceptions)through 11.1. and 12(inapplicable) by checking or marking `des"or "na"in the boxes to the right ofthe questions.
a. Are you the actual transferee/buyer of the firearm(s) listed on this form? Warning: You are not the actual buyer if you are                           y    No
     acquiring the firearm(s)on behalf of another person. If you are not the actual buyer, the dealer cannot transfer the firearm(s)                          ]
                                                                                                                                                              [
     to you. (See Instructionsfor Question l La)Exception: Ifyou are picking tip a repairedferearnr(s)for another person, you are not
     required to answer Il.a. and may proceed to question 11.6.
 b. Are you under indictment or information in any court for a felony, or any other crime, for which the judge could imprison you for                   Yn~es N{
      more than one year? (See Instructionsfor Question 11.b.)                                                                                                u
c. Have you ever been convicted in any court of a felony, or any other crime, for which the judge could have imprisoned you for more Yes N
     than one year, even if you received a shorter sentence including probation? (See Instrrtctionsfor Question ll.c.)                                   ❑
d. Are you a fugitive from justice?
                                                                                                                                                0
e. Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other controlled substance?       Yes Nq

f. Have you ever been adjudicated mentally defective (which includes a determination by a court, board, commission, or other lawful
   authority that you are a danger to yourselfor to others or are incompetent to manage your own affairs) OR have you ever been
   committed to a mental institution? (See Instructions for Question! If)                                                                        O      IJ
                                                                                                                                                 Yes    N
g. Have you been discharged from the Armed Forces under dishonorable conditions?
h. Are you subject to court order restraining you from harassing, stalking, or threatening your child or an intimate partner or child of         Yes    N
   such partner? (See Instructionsfor Question ll.h.)                                                                                            El
i.   Have you ever been convicted in any court of a misdemeanor crime ofdomestic violence? (See Instructionsfor Question 113)                    Q

j. Have you ever renounced your United States citizenship?                                                                                       a
                                                                                                                                                        2
                                                                                                                                                 Yes    N
k. Are you an alien illegally in the United States?

1.   Are you a nonimmigrant alien? (See Instructionsfor Question 11.1) Ifyou answered "no" to this question, do NOT respond to                 Yes N
     question 12 and proceed to question 73.                                                                                                   1:1
12. If you are a nonimmigrant alien, do you fall within any of the exceptions set forth in the instructions?(If"yes," the licensee must        Yes No
     complete question 20d.) (See Instructionsfor Question 12)Ifquestion 111 is answered with a "na "response, then do NOT
     respond to question 12 and proceed to question 13.
 13. What is your State ofresidence 14. What is your country of citizenship? (List/check more than 15. if you are not a citizen ofthe United States,
   (  fairy)? (See Instructionsfor       one, ifapplicable. ifyou are a pttlzen ofthe United States,         what is your U.S.-issued alien number or
     Question 13.)                       proceed to question 16.) ~   CJi United States ofAmerica            admission number?
    ` vu
    , Q-\Jj 1 "`q--Ki cc)               []Other (Specify)
Note: Previous Editions Are Obsolete                 Transferee(Buyer) Continue to Next Page                                 ATF Fotm 4473(5300.9)Part 1
                                                    STAPLE    IF PAGES BECOME SEPARATED                                      Revised August 2008
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                                                                                                                                           USA00012133
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I certify that my answers to Section A are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. I understand that answering "yes" to question 1 La. if 1 am not the actual buyer is a crime punishable as a felony under
Federal law, and may also violate State and/or local law. I understand that a person who answers "yes" to any of the questions l l.b. through
I l.k. is prohibited from purchasing or receiving a firearm. I understand that a person who answers "yes" to question 11.1, is prohibited from
purchasing or receiving a firearm, unless the person also answers ",yes" to question 12. I also understand that snaking any false oral or
written statement, or exhibiting any false or misrepresented identification with respect to this transaction, is a crime punishable as a felony
under Federal law, and may also violate State and/or local law. I further understand that the repetitive purchase of firearms for the purpose
of resale for livelihood and profit without a Federal firearms license is a violation of law (See lnstrucrionsforQuesdon 16).
16. Transferee's/Buyer's Signature                                                                                   17. Certification Date


                                                    ion B - Must Be Completed By Transferor (Seller)
                                                                                                                                    ~aT-Q~ a
18. Type of firearm(s) to be transferred (check or mark all that apply):   19. If sale at a gun show or other qualifying event.
        Handgun        Long Gun              Other Firearm (Frame, Receiver, etc. Name of Event
                       (rifles or            See Instructionsfor Question 18.)
                       shotguns)                                                  City, State
20a. Identification (e.g., Kiginia Driver's license(VA DL)or other t,(ilid government-issued photo identification.) (See Instnuaionsfor Question 20.a)
Issuing Authority and Type of Identification            Number on Identification                                   Expiration Date of Identification (ifany)
                                                                                                                   Month           Day            Year

          Ix                 l~ ,l;    V                       ~5 G                1 ~f                            c~ ~.                        "Lo t ---
20b. Alternate Documentarttdsr(ifdriver's license or other identification document does not show current residence address)
                                                             PC S            0~I,CVS
20c. All Aliens: Type and dates ofdocuments that establish 90-day residency (e.g., utility bills or lease agreements). (See Instructionsfor Question 20.c)
Type(s) of Document                                                          Date(s) of residence indicated on documents


20d. Nonimmigrant Aliens :dust Provide: Type of documentation showing an exception to the nonimmigrant alien prohibition.(See Instructionsfor
Question 20.d.)

       Questions 21,22, or 23 Must Be Completed Prior To The Transfer Of The Firearm(s) (See Imtructions.for Questions 21, 22 and 23.)
21a. Date the transferee's identifying information in Section A was transmit- 21 b. The NICS or State transaction number (ifprovided) was:
     ted to NICS or the appropriate State agency:(Month/Dav/Year)
      Month            Day            Year
                                                                                           I-ZLi6 - v\rnR
21 c. The response 'nitially provided by NICS or the appropriate State              21 d. If initial NICS or State response was "Delnved,"the following
      agency was:                                                                         response was received from NICS or the appropriate State agency:
                                                                                         n Proceed                               (date)
           Proceed      0 Delayed
           Denied        (Theftrearm(s) may be transferred on                                 Denied                               (date)
                                           (.+MIDI date provided by NICS)
           Cancelled                                                                     n Cancelled                               (date)
                         fi State law permits (optional)]
                                                                                              No resolution was provided within 3 business days.
21e. (Complete ifapplicable.) After the firearm was transferred, the following response was received from NICS or the appropriate State agency on:
                           (date).            n Proceed               F I Denied           11 Cancelled
21f, The name and Brady identification number of the NICS examiner (Optional)                         tJ
                                         Terri                                                      r-T ,6
                                                                                                   1J
                                              (name)                                             (number)
22. n No NICS check was required because the transfer involved only NFA firearm(s). (See Instructionsfor Question 22.)

23. n No NICS check was required because the buyer has a valid permit from the State where the transfer is to take place, which qualifies as an
           exemption to NICS (See Instructionsfor Question 23.)
 Issuing State and Permit Type              Date of Issuance (ifany)   Expiration Date (ifany)              Permit Number (ifany)


                                            Section C - Must Be Completed Personally By Transferee(Buyer)
 If the transfer of the firearm(s) takes place on a different day from the date that the transferee (buye,) signed Section A,the transferee must complete
 Section C immediately prior to the transfer of the firearm(s). (See Instructionsfor Question 24 and 25.)
I certify that my answers to the questions in Section A of this form are still trnr.
                                                                                           r", - +-     -                                     USA00012134
                              oe--  .
24. TransfereP•c/R....^-'^
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                                                     Section D - Must Be Completed By Transferor (Seller)
                  26.                                   27.                                   28.                                       29.                   30.
   Manufacturer and/or Importer(Ifthe                  Model                            Serial Number                        Type(pistol,revolver, i0e,    Caliber or
 manufacturer and importer are dflferent,                                                                                   .shotgun, receiver,forme,        Gauge
     the FFL should include both.)                                                                                           etc.)(See instrucdonsfor
                                                                                                                             question 29)

          Fit A                                  Wth~ leot}a                         115rS'? 0°11                                (L•ev,0\ver 3$                  S VL




30a. Total Number of Firearms (Please handwrite by printing e.g., one, two, three, etc. Do not use numerals.)                30b. Is any part of this transaction a
                                                                                                                             Pawn Redemption?
                                                                                                                                                       ❑ Yes FXNo
       or Use by FFL (See Instructionsfor Question 30c.)
                                                                                                                630
                                                                                                                0                              ;Z-695-
                   Complete ATF Form 3310.4 For Multiple Purchases of Handguns Within 5 Consecutive Business Days
31. Trade/corporate name and address of transferor (seller) (Hand stamp may be 32. Federal Firearms License Number (Must contain at leastfirst
    used.)                                                                         three and lastfive digits ofFFL Number X-XX-XXUff..)
                    Holloman Exchange
                                                                                 (  Hand stamp may be used.)
                       Bldg 227 Drawer V
                       551     Str et
                           4tb 14                                                                   FFL 5-85-035-01-2M-01293
                        olloA
                       H        d A~B
                       New I        xic6 88330
                The Person Tfaiisferring The Firearm(s) Must Complete Questions 33-36. For Denied/Cancelled Transactions,
                                      The Person Who Completed Section B Must Complete Questions 33-35.
I certify that my answers in Sections B and D are true, correct, and complete. 1 have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. On the basis of:(1) the statements in Section A(and Section C if the transfer does not occur on the day Section A was com-
pleted);(2) my verification of the identification noted in question 20a(and my reverification at the time of transfer ifthe transfer does not occur on the
day Section A was completed); and (3)the information in the current State Laws and Published Ordinances,it is my belief that it is not unlawful for
me to sell, deliver, transport,or otherwise dispose of the firearm(s) listed on this form to the person identified in Section A.
33. Transferor's/Seller's Name(Please print) 34.~sfcro                     eller's   gnaturc            35. Transferor's/Seller's Title             36. Date Transferred

   Sc eoAs
         - ,

             NOTICES,INSTRUCTIONS AND DEFINITIONS                                     buyer wish to make a record of your discovery, then photocopy the inaccurate
                                                                                      form and make any necessary additions or revisions to the photocopy. You only
Purpose of the Form: The information and certification on this form are               should make changes to Sections B and D. The buyer should only [Hake changes
designed so that a person licensed under 18 U.S.C. § 923 may determine if he          to Sections A and C. Whoever made the changes should initial and date the
or she may lawfully sell or deliver a firearm to the person identified in             changes. The corrected photocopy should be attached to the original Form 4473
Section A. and to alert the buyer of certain restrictions on the receipt and          and retained as part of your permanent records.
possession of firearms. This form should only be used for sales or transfers
where the seller is licensed under 18 U.S.C. § 923. The seller of a firearm           Over-the-Counter Transaction: The sale or other disposition of a firearm by a
must determine the lawfulness of the transaction and maintain proper records          seller to a buyer, at the seller's licensed premises. This includes the sale or other
of the transaction. Consequently, the seller must be familiar with the                disposition of a rifle or shotgun to a nonresident buyer on such premises.
provisions of 18 U.S.C. §§ 921-931 and the regulations in 27 CFR Part 478.
In determining the lawfulness of the sale or delivery of a long gun (rifle or         State Laws and Published Ordinances: The publication (ATF P 5300.5) of
shotgun) to a resident of another State, the seller is presumed to know the           State firearms laws and local ordinances ATF distributes to licensees.
applicable State laws and published ordinances in both the seller's State and
the buyer's State.                                                                    Exportation of Firearms: The State or Commerce Departments may require you
                                                                                      to obtain a license prior to export.
After the seller has completed the firearms transaction, he or she must make
the completed, original ATF Form 4473 (which includes the ,~'otices, General                                               Section A
Instructions, and Definitions), and any supporting documents, part of his or
her permanent records. Such Forms 4473 must be retained for at least 20              Question 1. Transferee's Full Name: The buyer must personally complete
years. Filing may be chronological (by dare), alphabetical (!?v name), or            Section A of this form and certify (sign) that the answers are true, correct, and
numerical (by transaction serial number), as Tong as all of the seller's             complete. However, if the buyer is unable to read and/or write, the answers
completed Forms 4473 are filed in the same manner. FORMS 4473 FOR                    (other than the signature) may be completed by another person, excluding the
DENIED/CANCELLED TRANSFERS bIIJST BE RETAINED: If the transfer                       seller. Two persons (other than the seller) must then sign as witnesses to the
of a firearm is deniedlcancelled by TICS, or if for any other reason the             buyer's answers and signature.
transfer is not complete after a NICS check is initiated, the licensee must
retain the ATF Form 4473 in his or her records for at least 5 years. Forms            When the buyer of a firearm is a corporation, company, association, partnership,
4473 with respect to which a sale, delivery, or transfer did not take place shall     or other such business entity, an officer authorized to act on behalf of the business
be separately retained in alphabetical (by rranre) or chronological (by dare of       must complete Section A of the form with his or her personal information, sign
transferee's certification) order.                                                    Section A, and attach a written statement, executed under penalties of perjury,
                                                                                      stating: (A)the firearm is being acquired for the use of and will be the property
If you or the buyer discover that an ATF Form 4473 is incomplete or                   of that business entity and (B)the name and address of that business entity.
improperly completed after the firearm has been transferred. and you or the                                                            ATF Form 4473(5300.9) Part 1
                                                                                                                                       Revised August 2008

                                                                                                                                                     USA00012135
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 U.S. Department of Justice
 Bureau of Alcohol, Tobacco, Firearms and Explosives                              Firearms Transaction Record Part I -
                                                                     1a           Over-the-Counter
WARNING: You may not receive a firearm if prohibited by Federal or State law. The information you provide will                         Transferor's Transaction
be used to determine whether you are prohibited under law from receiving a firearm. Certain violations of the Gun                      Serial Number (Ifany)
Control Act,18 U.S.C.§§921 et. seq., are punishable by up to 10 years imprisonment and/or up to a $250,000 fine.

Prepare in original only. All entries must be handwritten in ink. Read the Notices,Instructions, and Definitions on
this form."PLEASE PRINT."
                                       Section A - Must Be Completed Personally By Transferee(Buyer)
 1. Transferee's Full Name
 Last Name                                       First Name                                       Middle Name (Ifno middle name, state 'NMN')

                                                           Out~1
2. Current Residbnce Address (U.S. Postal abbreviationsire acceptable. Cannot be a post office box.)
                                                                                                               ?46(6 K
Number and Street Address                      City                                       County                                    State    ZIP Code
                                                                                                                                             (
                                                                                                                                     14M      tl U J36
3. Place of Birth                                                    4. Height    5. Weight                       7. Birth Date
U.S. City and State             -OR-     Foreign Country             Ft            (  Lbs.)                        Month        Day              Year

  k A V.   ., 4        t . ii.                                    In.                 17v
8.  Social Security Number (Optional but will help prevent misidentification)      9. Unique Personal Identification Number(UPIN)if applicable (See
                                                                                      Instructionsfor Question 9.)

10. Race (Ethnicity)(Check one or more boxes. See Instructionsfor Question 10)

    ❑ American
                Indian o"askA Native                    ❑ Black or African American                         ❑ Native Hawaiian or Other Pacific Islander
    n Hispanic or Latinos _; -",                        ❑ Asian                                             Lil-Whitc
11. Answer questions 1].a.(see exceptions)through l I.I. and 12(fapplicable)by checking or marking `yes"or "no"in the boxes to the right ofthe questions.
a. Are you the actual transferee/buyer of the firearm(s)listed on this form? Warning: You are not the actual buyer if you are                        Yes    No
    acquiring the firearm(s) on behalf of another person. If you are not the actual buyer, the dealer cannot transfer the firearm(s) X                      ❑
    to you. (See Instructionsfor Question Il.a)Exception: Ifyou arepicking up a repairedfrrearm(s)for anotherperson, you are not
    required to answer 11.a. and may proceed to question 11.b.
b. Are you under indictment or information in any court for a felony, or any other crime, for which the judge could imprison you for                 Yes    No
    more than one year? (See Instructionsfor Question 11.b)                                                                                           ❑     17
c. Have you ever been convicted in any court of a felony, or any other crime, for which the judge could have imprisoned you for more Yes                    No
    than one year, even if you received a shorter sentence including probation? (See Instructionsfor Question 11.c.)                                  ❑     N
d. Are you a fugitive from justice?                                                                                                                  Yes    No
                                                                                                                                                     ❑      U
e. Are you an unlawful user of, or addicted to, marijuana or any depressant, stimulant, narcotic drug, or any other controlled substance? e                 , O
                                                                                                                                                     El     I di
                                                                                                                                                            ~
f. Have you ever been adjudicated mentally defective (which includes a determination by a court, board, commission, or other lawful
    authority that you are a danger to yourselfor to others or are incompetent to manage your own affairs) OR have you ever been                     Yes    No
    committed to a mental institution? (See Instructionsfor Question 11.f.)                                                                          ❑      CK
g. Have you been discharged from the Armed Forces under dishonorable conditions?                                                           e
                                                                                                                                           1:1No
h. Are you subject to a court order restraining you from harassing, stalking, or threatening your child or an intimate partner or child of Yes No
   such partner? (See Instructionsfor Question 11.h)                                                                                       ❑ IR
i. Have you ever been convicted in any court ofa misdemeanor crime ofdomestic violence? (See Instructionsfor Question 11J)                 Yes No

j. Have you ever renounced your United States citizenship?                                                                                          Yes     No
                                                                                                                                                            L
k. Are you an alien illegally in the United States?
                                                                                                                                                    O R
 1. Are you a nonimmigrant alien? (See Instructionsfor Question 11.1.) Ifyou answered "no"to this question, do NOT respond to                   Yes
     question 12 and proceed to question 13.                                                                                                    ❑
12. If you are a nonimmigrant alien, do you fall within any of the exceptions set forth in the instructions?(If"yes," the licensee must         Yes No
    complete question 20d.) (See Instructionsfor Question 12)Ifquestion 11.I is answered with a "no"response, then do NOT
    respond to question 12 and proceed to question 13.
13. What is your State of residence 14. What is your country of citizenship? (List/check more than 15. If you are not a citizen of the United States,
   ( ifany)? (See Instructionsfor        one, ifapplicable. Ifyou are a citizen ofthe United States,         what is your U.S.-issued alien number or
    Question 13)
               nn~ ,                     proceed to question 16.)         United States of                   admission number?

   IV wi                  CL                  Other (Specify)
Note: Previous Editions Are Obsolete                 Transferee(Buyer)Continue to Next Page                                  ATF Form 44.73(5300.9)Part J
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                                                                                                                                            USA00012136
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I certify that my answers to Section A are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitior
on ATF Form 4473. I understand that answering "yes" to question l La. if I am not the actual buyer is a crime punishable as a felony undc
Federal law, and may also violate State and/or local law. I understand that a person who answers "yes" to any of the questions I l.b. throu
I I.k. is prohibited from purchasing or receiving a firearm. 1 understand that a person who answers "yes" to question 11.1. Is prohibited fri
purchasing or receiving a firearm, unless the person also answers "yes" to question 12. I also understand that making any false oral or
written statement, or exhibiting any false or misrepresented identification with respect to this transaction, is a crime punishable as a felony
under Federal law, and may also violate State and/or local.law. I further understand that the repetitive purchase of firearms for the purpo
of resale for livelihood and profit without a Federal firearms license is a violation of law (SeebtstrudionsforQuesWon 16).
16. Tra*-kee's/Buyer's Signa                                                                                        17. Certification Date


                                                 e~c   -B - Must Be Completed By Transferor (Seller)
                                                                                                                                va4t
18. Type of firearm(s) to be transferred (check or mark'all that apply):   19. If sale at a gun show or other qualifying vent.
      ® Handgun n Long Gun                 Other Firearm (Frame, Receiver, etc. Name of Event                            \ \
                 ( rifles or               See Instructionsfor Question 18.)
                 shotguns)                                                       City, State                                IN \
20a. Identification (e.g., Virginia Driver's license(VA DL)or other valid government-issuedphoto identification) (See Instructionsfor Question 20.a.)
Issuing Authority and Type of Identification             Number on Identification                               Expiration Date ofIdentification (ifany)
                                                                                                                Month            bay            Year
                                                                         ~ 4_~r I ~a                       (9a,       ,J-                   40/-5
                            V tm/
20b. Alternate Documentation (ifdriver's license or other identification document does not show current residence address)

                                                Pc.s       Fir >t~25                  f7 r✓ - c)3 0-1s,
20c. All Aliens: TypA'd dz~tes ofdocuments that establish 90-day residency (e.g., utility bills or lease agreements). (See Instructionsfor Question 2
                      .
Type(s) of Document,:-.                                                    I Date(s) of residence indicated on documents
                       .

20d. Nonimmigrant Aliens Must Provide: Type ofdocumentation showing an exception to the nonimmigrant alien prohibition.(See Instructions.
Question 20.d.)

       Questions 21,22,or 23 Must Be Completed Prior To The Transfer Of The Firearm(s) (See Instructionsfor Questions 21, 22 and 23.)
21 a. Date the transferee's identifying information in Section A was transmit- 21b. The NICS or State transaction number (ifprovided) was:
      ted to NICS or the appropriate State agency:(Month/DaylYear).
       Month            Day         Year
          0L/             l~.       )e i)-
21c. The response initially provided by NICS or the appropriate State            21 d. If initial NICS or State response was "Delayed,"the following
     agency was:                                                                       response was received from NICS or the appropriate State ages
            Proceed      n Delayed                                                    ❑ Proceed                               (date)
                          (Thefrearm(s) may be transferred on
       El   Denied
                                            (MDIdate provided by NICS)
                                                                                      ❑ Denied                                 (date)
            Cancelled                                                                   Cancelled                              (date)
                           f
                           i State law permits (optional)]
                                                                                      F1    No resolution was provided within 3 business days.
21 e. (Complete ifapplicable.) After the firearm was transferred, the following response was received from NICS or the appropriate State agency
                            (date).            n Proceed               ❑ Denied             n Cancelled

21 f. The name and Brady identification number of the NICS examiner (Optional)
                                            PC- K                                              X13W
                                            (name)                                             (number)
22.         No NICS check was required because the transfer involved only NFA firearm(s). (See Instructionsfor Question 22.)
      ❑
23. n No NICS check was required because the buyer has a valid permit from the State where the transfer is to take place, which qualifies as.
           exemption to NICS (See Instructionsfor Question 23.)
 Issuing State and Permit Type              Date of Issuance (ifany)   Expiration Date (ifany)             I Permit Number (ifany)

                                            Section C - Must Be Completed Personally By Transferee(Buyer)
 If the transfer of the firearm(s) takes place on a different day from the date that the transferee (buyer) signed Section A,the transferee must comp
 Section C immediately prior to the transfer of the firearm(s). (See Instructionsfor Question 24 and 25)
I certify that my answers to the questions in Section A of this form are still true, correct and complete.
24. Transferee's/Buyer's Signature                                                                                         25. Recertification Date


                                                       Transferor (Seller) Continue to Next Page                            ATF Form 4473(5300.9) Part I
Paae 2 of6                                           c•rAvr >; 11Z ver:F.0 RFCnMF.SEPARATED                                 Revised August 2008

                                                                                                                                  USA00012137
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                                                      Section D - Must Be Completed By Transferor (Seller)
                   26.                                   27.                                  28.                                       29.                   30.
   Manufacturer and/or Importer (Ifthe                  Model                           Serial Number                        Type(piW1rewlver,r*           Caliber or
  manufacturer and importer are different,                                                                                   shotgun, receiver,frame,        Gauge
      the FFL should include both)                                                                                           etc.)(See instructionsfor
                                                                                                                             question 29)

      siz, S                  kiz                        3v                                                                              -rL




30a. Total Number of Firearms (Please handwrite by printing e.g., one, two, three, etc. Do not use numerals.                30b. Is any part of this transaction a
                                                                                                                            Pawn Redemption?
                                                                      '                         &T                                                         yes It
30c. For Use by FFL (See Instructionsfor Question 30c.)

          ✓A44         Complete ATF Form 3310.4 For Multiple Purchases of Handguns Within 5 Consecutive Business Days
31. Trade/corporate name and addN&#s&Fof%0x)9YHand stamp may be               32. Federal Firearms License Number (Must contain at leastfirst
     used.)                       Bldg 227 Drawer V                               three and lastfive digits ofFFL Number X-XX-XXXXX.)
                                  551 4th Street                                 (Hasid stamp may be used.)
                                       Holioman AFB
                                     . Now Mexico 88330
                                                                                                        FFL 5-85-035-01-2M-0)293
                               V
                The Person Transferring The Firearm(s) Must Complete Questions 33-36. For Denied/Cancelled Transactions,
                                       The Person Who Completed Section B Must Complete Questions 33-35.
I certify that my  answers  in Sections B and D are true, correct, and complete. I have read and understand the Notices, Instructions, and Definitions
on ATF Form 4473. On the basis of:(1)the statements in Section A(and Section C if the transfer does not occur on the day Section A was com-
pleted);(2) my verification of the identification noted in question 20a (and my reverification at the time of transfer ifthe transfer does not occur on the
day Section A was completed); and (3) the information in the current State Laws and Published Ordinances,it is my belief that it is not unlawful for
me to sell, deliver, transport, or otherwise dispose of the firearm(s)listed on this form to the person identified in Section A.
33. Transferor's/Seller's Name(Please print) 34. T nsferor'siSeller's Signature                 35. Transferor's/Scller's Title       36. Date Transferred


         kAt                            '    ~%,~
              NOTICES,INSTRUCTIONS AND DEFINITIONS
                                                                          )~4                             ~`~`/S~~s:                          ~—
                                                                                     buyer wish to make a record of your discovery, then photocopy the inaccurate
                                                                                     form and make any necessary additions or revisions to the photocopy. You only
Purpose of the Form: The information and certification on this form are              should make changes to Sections B and D. The buyer should only make changes
designed so that a person licensed under 18 U.S.C. § 923 may determine if he         to Sections A and C. Whoever made the changes should initial and date the
or she may lawfully sell or deliver a firearm to the person identified in            changes. The corrected photocopy should be attached to the original Form 4473
Section A,and to alert the buyer of certain restrictions on the receipt and          and retained as part of your permanent records.
possession of firearms. This form should only be used for sales or transfers
where the seller is licensed under 18 U.S.C. § 923. The seller of a firearm          Over-the-Counter Transaction: The sale or other disposition of a firearm by a
must determine the lawfulness of the transaction and maintain proper records         seller to a buyer, at the seller's licensed premises. This includes the sale or other
of the transaction. Consequently, the seller must be familiar with the               disposition of a rifle or shotgun to a nonresident buyer on such premises.
provisions of 18 U.S.C. §§ 921-931 and the regulations in 27 CFR Part 478.
In determining the lawfulness of the sale or delivery of a long gun (rye or          State Laws and Published Ordinances: The publication (ATF P 5300.5) of
shotgun) to a resident of another State, the seller is presumed to know the          State firearms laws and local ordinances ATF distributes to licensees.
applicable State laws and published ordinances in both the seller's State and
the buyer's State.                                                                   Exportation of Firearms: The State or Commerce Departments may require you
                                                                                     to obtain a license prior to export.
After the seller has completed the firearms transaction, he or she must make
the completed, original ATF Form 4473 (which includes the A'otices, General                                               Section A
Instructions, and Definitions), and any supporting documents, part of his or
her permanent records. Such Forms 4473 must be retained for at least 20             Question 1. Transferee's Full Name: Tltc buyer must personally complete
years. Filing may be chronological (by date), alphabetical (bv name), or            Section A of this form and certify (sign) that the answers are true, correct, and
numerical (by transaction serial number), as long as all of the seller's            complete. However, if the buyer is unable to read and/or write, the answers
completed Forms 4473 are filed in the same manner. FORMS 4473 FOR                   (other than the signature) may be completed by another person, excluding the
DENIED/CANCELLED TRANSFERS MUST BE RETAINED: If the transfer                        seller. Two persons (other than the seller) must then sign as witnesses to the
of a firearm is denied/cancelled by NICS, or if for any other reason the            buyer's answers and signature.
transfer is not complete after a NICS check is initiated, the licensee must
retain the ATF Form 4473 in his or her records for at least 5 years. Forms           When the buyer of a firearm is a corporation, company, association, partnership,
4473 with respect to which a sale, delivery, or transfer did not take place shall    or other such business entity, an officer authorized to act on behalf of the business
be separately retained in alphabetical (by name) or chronological (by date of        must complete Section A of the form with his or her personal information, sign
transferee's certification) order.                                                   Section A, and attach a written statement, executed under penalties of perjury,
                                                                                     stating: (A)the firearm is being acquired for the use of and will be the property
If you or the buyer discover that an ATF Form 4473 is incomplete or                  of that business entity and(B)the name and address of that business entity.
improperly completed after the firearm has been transferred, and you or the                                                           ATF Form 4473(5300.9)Part
                                                                                                                                      Revised August 2008
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                                                                                                                                                     USA00012138
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                                                                                                                                                                                                                 I
                                               REQUEST AND AUTHORIZATION FOR PERMANENT CHANGE OF STATION - MILITARY
                                           This contains infomialion which must be proladed IAW AF133-332 and DoD Regulation 5400.00; Privacy Ad of -W4 as Amended Apples. and it is for
                                                                OIhcI&) Use Only(FOUO). II must be proteded or privacy Act information removed rdor to further disclosure.
                                                                                                                                                                               I
   The following Individual wig proceed on parccnent change of station:
                                                                                                   ❑ PCS without PCA                           X    PCS with PGA                   TED    APR 11

   1.   GRADE, NAME         (Last, First, Middle Initial)                                                                               2. SSAN                                        3. SAFSCICAFSC

  A1C KELLEY, DEVIN P                                                                                                             634.24-5484                       2TO31
  4. SECURITY CLEARANCE    (indude date oflast invesggalion)                                     5. REPORT TO COMDR. NEW ASSIGNMENT     6 7RAVEL DAYS AUTHORIZED IF TRAVELING BY
  SCI(DCID 1114 ELIG) 15 MAR 10                                                                      NLT. 21 APR 11                     PRIVATELY-OWNED CONVEYANCE:              4
  7. TDY ENROUTE




  8. UNIT. MAJOR COMMAND AND ADDRESS OF UNIT FROM WHICH RELIEVED                                                  9. UNIT    MAJOR COMMAND AND ADDRESS OF UNIT TO BE ASSIGNED.

  OL AFST 316 TRAINING SO FFC990(AET)                                                                             49 LOGISTICS READINES SO FFJXDO(ACC)
  GOODFELLOW TX 769080000                                                                                         HOLLOMAN NM 883300000


  10. TYPE OF TOUR                   ACCOMPANIED                           UNACCOMPANIED                          11. TOUR LENGTH             (Total No of Months)            12 EXTENDED LONG TOUR VOL
         (Chock One)                 UNACCOMPANIED,DEPENDENTS RESTRICTED                                                                                                                            NO

  13. DEPENDENT TRAVEL:                                                                                           14. THIS IS A   JOIN-SPOUSE ASSIGNMENT                       (include spouse's grade. named SSN)
         A. CONCURRENT TRAVEL IS AUTOMATIC                                                                        NO
         B. CONCURRENT TRAVEL IS APPROVED
         C. DEPENDENT TRAVEL IS DELAYED FOR LESS THAN 20 WEEKS                                                    15. AUTHORITY FOR CCTVL
  ■ D. DEPENDENT TRAVEL IS DELAYED FOR MORE THAN 20 WEEKS
         E    TRAVEL IS AUTHORIZED TO A.DESIGNATEO PLACE
  18. HOMEBASINGIFOLLOW-ON ASSIGNMENT                           (Include AAN, GPAS and RiYLTD)

                                             1 :4

  17. DEPENDENT(s),            (List names. &:!6 of ddoiren, relationship to member and current address)




  18. PCS EXPENSE CHARGEABLE TO:                     5713500 321 5841.0" 525725                       Insert Applicable Subproject Shred                   19. AUTHORITY AND PCS CODE

 CIC         4 5 148 0040 525725                  TAC:      F18A                                    ATAC-     F18A10'                                      AFI 36-2110

  NTS CHARGEABLE TO.                5713500 321 5848.ON 525725                                                                                                PCS ID: A                     AAN D41ON02060
                                                                                                                                                                                                                     r
 20. AETCIFM TOY Funding.                                                                                                                                  21   SON


                                                                                                                                                           P859411001MPOH
 20s. All otter TDY Enroute Funding.


 Pursuant to AM 324001- you will repod 10 the Dace housing referral alike ser`icing your new drAy station behire entering any rental.lease. or pur chau agreement for owbase nousng.
 22     REMARKS        (SubnM travel voucher within 5 workdays after completion offraver If TOY enroufe is authorized, attach reaeipis showing cost or aN"ing used.
                       AN promotionalitems incurred while PCS✓TDY must be fumed in to AFO upon arrival at gaming base. See reverse for remarks.)
 PCS ADSC         24        MONTHS             TRAINING ADSC:                       MONTHS                             (See AFl 36.2107)

 01 Airmen and dependents returning from Overseas must surrender no-fee passports to their CONUS MPF/MPS upon in-processing.

 02. Upon receipt of orders contact the Traffic Management Office (TMO)to make arrangements for HHGs shipment and trave).

 03. Upon receipt of orders contact the Financial Services Office(FSO)to make financial arrangements and advisement



 23. DATE                 24. APPROVING OFFICIAL               (Type Name and Grade)                                                   25. SIGNATURE OF APPROVING OFFICIAL

 11 JAN 11                Inventor, Whimy . 2LT, USAF, Chief, Career Develop                                                                                                 J/ SIGNED H

 26 DESIGNATION AND LOCATION OF HO DEPT OF THE AIR FORCE:                                                            27. SPECIAL ORDER NO;                                                          28. DATE
 AFPC RANDOLPH AFB TX 78150-0000                                                                                     AE-032159                                                                      11 JAN 11
                                                                                                                     29. TDN
                                                                                                                                                          FOR THE COMMANDER

 30. DISTRIBUTION:        AA                                                                                        31. SIGNATURE ELEMENT OF ORDERS AUTHENTICATING OFFICIAL

 32. ADDRESS OF        GAINING MPF;                                                                                 // SIGNED //
 49 FSS                                                                                                             DANIEL J. WALKER, GS-12, DAF
                                                                                                                    CHIEF, MILITARY PERSONNEL
 HOLLOMAN AFB NM 88330.8060


AF FORM 899, 20060807                                                            PREVIOUS EDITIONS ARE OBSOLETE




                                                                                                                                                                                                           USA00012139
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                                                .E OF WEAPONS CHECKLIST




      EXCHANGE                                  ble to purchase a weapoi having the following:
                                                hes the completed 4473

             EXCHANGE                           i;) Orders for customer(CAN NOT BE TDY,
          HOLLOMAN MAIN EXCHANGE
               575-479-1509                     )rders or anything other than PCs orders). Be sure
   MON-SAT 09:00-20:00 SUN 10:00-1800            le.
          WWW.SHOPMYEXCHANGE.COM                )rtgage Payment or Rental Agreement) dating back

SIG P250 9MM 15RD BLK FS Ct
  79868142610                     415.60        )se any weapon)
  PLEASE CHECK ID                               t has been reviewed and signed by
  SERIAL # OR CI #    EAK087537
  CUSTOMER LAST N-    Kelley                     both forms of ID
  CUSTOMER FIRST AME Devin
  DOES GUN HAVP LOCK? YES                       all areas of the form; script is not allowed
S&B 9MM 115G' MJ     75490850.008               )breviated (ex: NOVEMBER)
                                   13.00        ne and (customer Section A/associate Section B)
                            1 14    P
TOTAL                       !'?l;: '. $428.60   abbreviation is not allowed)
MILITARY STAR ":;' $428:60
XXXXXXXXXXXX9776
EXPIRY: XX/XX SWIPED BANK                       ional)
AUTH# 029023                                    A
SEQ# 2803                                       nust check the waivers to see if can proceed
  PLAN NUMBER 10001
                                                 citizens)
     By using this card, you agree to
   pay in accordance with the Exchange
   Credit Agreement terms. EXCH retains
  a purchase money security interest in
   all purchases made on this account.

ITEMS 2
04/12/2012 10:04         2201 10 000412 5437     day that certified




                                                type, model) corrected?
                                                eted properly and faxed?
                                      1
                                                 associate and manager after review of form
                                                ,and written or stamped)
         * 05437120412220100*                                           L1 -IL 17-
                                                                Date:

                                                               Date:
   THE EXCHANGE VALUES YOUR OPINION
            TAKE SURVEY AT
     WWW.INTOUCHSURVEY.COM/AAFES
            STORE# 1012201
        WIN SWEEPSTAKES PRIZES
sYOU SAME N1 ONEY       X
                        WE GIVE BACK




                                                                                                     USA00012140
